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                                                           5 Attorneys for Plaintiff
                                                             ARROWOOD INDEMNITY COMPANY,
                                                           6 formerly known as ROYAL INSURANCE
                                                             COMPANY OF AMERICA, and successor to
                                                           7 ROYAL GLOBE INSURANCE COMPANY

                                                           8
                                                                                            UNITED STATES DISTRICT COURT
                                                           9
                                                                                           EASTERN DISTRICT OF CALIFORNIA
                                                          10
                                                                                                  SACRAMENTO DIVISION
                                                          11
                    Four Embarcadero Center, Suite 1350
                      San Francisco, California 94111




                                                          12 ARROWOOD INDEMNITY COMPANY, a                        Case No. 2:21-CV-00397-WBS-JDP
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                                                             Delaware corporation, formerly known as
                                                          13 ROYAL INSURANCE COMPANY OF
                                                             AMERICA, and successor to ROYAL
                                                          14 GLOBE INSURANCE COMPANY                              AMENDED COMPLAINT FOR
                                                                                                                  DECLARATORY JUDGMENT [28 U.S.C. §
                                                          15                 Plaintiff,                           2201]

                                                          16         v.                                           JURY TRIAL DEMANDED

                                                          17 CITY OF WEST SACRAMENTO; and ROES
                                                             1-50, inclusive,
                                                          18
                                                                            Defendant.
                                                          19

                                                          20

                                                          21         Arrowood Indemnity Company (“Arrowood”), formerly known as Royal Insurance

                                                          22 Company of America, as successor to Royal Globe Insurance Company, hereby alleges as follows:

                                                          23                                   JURISDICTION AND VENUE

                                                          24          1.      Arrowood is a Delaware corporation with its principal place of business in

                                                          25   Charlotte, North Carolina and is duly authorized to transact insurance business in California.

                                                          26          2.      Federal jurisdiction is proper pursuant to 28 U.S.C. § 1332. The parties are

                                                          27   citizens of different states, as Arrowood maintains its headquarters in North Carolina, where it

                                                          28   directs, controls, and coordinates the corporation’s activities and it is incorporated in State of
                                                                                                                1                     Case No. 2:21-CV-00397-WBS-JDP
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                                                           1   Delaware. It is therefore a citizen of both North Carolina and Delaware. Defendant is a

                                                           2   California citizen. Arrowood seeks resolution of an insurance coverage dispute wherein

                                                           3   Arrowood’s potential indemnity obligation is greater than $75,000 exclusive of interest and costs.

                                                           4          3.      Venue is proper in the Eastern District of California pursuant to 28 U.S.C. §

                                                           5   1391(a)(2), as the situs of the allegedly contaminated real property, which gave rise to this

                                                           6   insurance coverage action, is located in West Sacramento, within the Eastern District of

                                                           7   California.

                                                           8                                        NATURE OF ACTION

                                                           9          4.      This is a civil action for declaratory judgment pursuant to 28 U.S.C. § 2201 to

                                                          10   determine the rights and obligations, if any, of Arrowood, formerly known as Royal Insurance

                                                          11   Company of America (“Royal”) and successor to Royal Globe Insurance Company (“Royal
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                      San Francisco, California 94111




                                                          12   Globe”), under insurance policies Royal and Royal Globe issued to Stockton Plating, Inc.
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                                                          13   (collectively, the “Policies”). At issue are Arrowood’s obligations, if any, to pay indemnity for

                                                          14   environmental pollution arising from the operation of a metal plating facility located at 319 3rd

                                                          15   Street, West Sacramento, California (the “Property”) under the Policies.

                                                          16                                               PARTIES

                                                          17          5.      Defendant City of West Sacramento is being sued in its capacity as a municipal

                                                          18   entity organized under the laws of the State of California and in its representative capacity on

                                                          19   behalf of the People of the State of California of West Sacramento. The City and the People of

                                                          20   the State of California of West Sacramento are being sued as a single entity (collectively “the

                                                          21   City of West Sacramento” or “the City”) for purposes of the judgment entered for nuisance under

                                                          22   California Code of Civil Procedure § 731. See California v. M & P. Invs., 213 F. Supp. 2d 1208,

                                                          23   1216-17 (E.D. Cal. 2002) (finding City of Lodi, not State of California, was real party in interest

                                                          24   in nuisance action brought pursuant to Cal. C.C.P. § 731); see also City of West Sacramento v.

                                                          25   R&L Business Management, No. 2:18-cv-900 WBS EFB, 2019 WL 2764087, *3 (E.D. Cal. Jul.

                                                          26   2, 2019) (J. Shubb) (holding that M&P “simply interpreted the cited statutory authorization,
                                                          27   California Code of Civil Procedure § 731, and found that it did not allow the City Attorney to

                                                          28
                                                                                                         2              Case No. 2:21-CV-00397-WBS-JDP
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                                                           1   represent the People ‘as a separate party plaintiff apart from the co-plaintiff City.’”). Neither the

                                                           2   State of California nor the People of the State of California is a party to this action.

                                                           3                                      FACTUAL ALLEGATIONS

                                                           4         A.       The Insurance Policies

                                                           5            6.    Royal Globe issued policy no. PYA920360 to named insured Stockton Plating,

                                                           6   Inc., for the policy period April 1, 1976 to April 1, 1979.

                                                           7            7.    Royal Globe issued policy no. PYA154515 to named insured Stockton Plating,

                                                           8   Inc., for the policy period April 1, 1979 to April 1, 1982.

                                                           9            8.    Royal issued policy no. PYA265377, to named insured Stockton Plating, Inc., for

                                                          10   the policy period April 1, 1982 to April 1, 1985.

                                                          11            9.    Royal issued policy no. PYA300207, to named insured Stockton Plating, Inc., for
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                      San Francisco, California 94111




                                                          12   the policy period April 1, 1985 to April 1, 1986.
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                                                          13            10.   The Policies each provide comprehensive general liability insurance pursuant to

                                                          14   the following terms:

                                                          15                    I. COVERAGE A – BODILY INJURY LIABILITY

                                                          16                  COVERAGE B – PROPERTY DAMAGE LIABILITY

                                                          17         The company will pay on behalf of the insured all sums which the insured
                                                                     shall become legally obligated to pay as damages because of
                                                          18
                                                                              A.      bodily injury or
                                                          19
                                                                              B.      property damage
                                                          20
                                                                     to which this insurance applies, caused by an occurrence, and the company
                                                          21         shall have the right and duty to defend any suit against the insured seeking
                                                                     damages on account of such bodily injury or property damage, even if any
                                                          22         of the allegations of the suit are groundless, false or fraudulent, and may
                                                                     make such investigation and settlement of any claim or suit as it deems
                                                          23         expedient, but the company shall not be obligated to pay any claim or
                                                                     judgment or to defend any suit after the applicable limit of the company’s
                                                          24         liability has been exhausted by payment of judgments or settlements.

                                                          25         The terms “insured,” “occurrence” and “property damage” are defined in the Policies as

                                                          26 follows:
                                                          27         When used in this policy (including endorsements forming a part hereof):

                                                          28                                               ***
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                                                           1        “insured” means any person or organization qualifying as an insured in the
                                                                    “Persons Insured” provision of the applicable insurance coverage. The
                                                           2        insurance afforded applies separately to each insured against whom claim
                                                                    is made or suit is brought, except with respect to the limits of the
                                                           3        company’s liability;

                                                           4                                           ***

                                                           5        “occurrence” means an accident, including continuous or repeated
                                                                    exposure to conditions, which results in bodily injury or property damage
                                                           6        neither expected nor intended from the standpoint of the insured;

                                                           7                                           ***

                                                           8        “property damage” means (1) physical injury to or destruction of tangible
                                                                    property which occurs during the policy period, including the loss of use
                                                           9        thereof at any time resulting therefrom, or (2) loss of use of tangible
                                                                    property which has not been physically injured or destroyed provided such
                                                          10        loss of use is caused by an occurrence during the policy period.

                                                          11                                           ***
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                                                          12        The comprehensive general liability form includes the following “Persons Insured”
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                                                          13 provision:

                                                          14                                    II. PERSONS INSURED

                                                          15               Each of the following is an insured under this insurance to the
                                                                           extent set forth below:
                                                          16
                                                                                                            ***
                                                          17
                                                                           (c) if the named insured is designated in the declarations as other
                                                          18               than an individual, partnership or joint venture, the organization so
                                                                           designated and any executive officer, director or stockholder thereof
                                                          19               while acting within the scope of his duties as such;

                                                          20                                                ***

                                                          21        The policies are subject to the following exclusion, among others:

                                                          22               Exclusions

                                                          23               This insurance does not apply:

                                                          24                                                ***

                                                          25               (f) to bodily injury or property damage arising out of the discharge,
                                                                           dispersal, release or escape of smoke, vapors, soot, fumes, acids,
                                                          26               alkalis, toxic chemicals, liquids or gases, waste materials or other
                                                                           irritants, contaminants or pollutants into or upon land, the
                                                          27               atmosphere or any water course or body of water; but this exclusion
                                                                           does not apply if such discharge, dispersal, release or escape is
                                                          28               sudden and accidental;
                                                                                                               4                  Case No. 2:21-CV-00397-WBS-JDP
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                                                           1                                               ***

                                                           2              (k) to property damage to

                                                           3                     (1) property owned or occupied by or rented to the insured;

                                                           4                     (2) property used by the insured, or

                                                           5                     (3) property in the care, custody or control of the insured or
                                                                                 as to which the insured is for any purpose exercising
                                                           6                     physical control;

                                                           7              but parts (2) and (3) of this exclusion do not apply with respect to
                                                                          liability under a written sidetrack agreement and part (3) of this
                                                           8              exclusion does not apply with respect to property damage (other
                                                                          than to elevators) arising out of the use of an elevator at premises
                                                           9              owned by, rented to or controlled by the named insured;

                                                          10                                           ***

                                                          11                                 III. LIMITS OF LIABILITY
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                                                          12              Regardless of the number of (1) insureds under this policy, (2)
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                                                                          persons or organizations who sustain bodily injury or property
                                                          13              damage, or (3) claims made or suits brought on account of bodily
                                                                          injury or property damage, the company’s liability is limited as
                                                          14              follows:

                                                          15                                           ***

                                                          16              Coverage B – The total liability of the company for all damages
                                                                          because of property damage sustained by one or more persons or
                                                          17              organizations as the result of any one occurrence shall not exceed
                                                                          the limit of property damage liability stated in the declarations as
                                                          18              applicable to “each occurrence”.

                                                          19                                           ***

                                                          20              Coverages A and B – For the purpose of determining the limits of
                                                                          the company’s liability, all bodily injury and property damage
                                                          21              arising out of continuous or repeated exposure to substantially the
                                                                          same general conditions shall be considered as arising out of one
                                                          22              occurrence.

                                                          23                                           ***

                                                          24              The policies are subject to the following general provisions, among
                                                                          others:
                                                          25
                                                                                                      CONDITIONS
                                                          26
                                                                                                       ***
                                                          27
                                                                          10. Three Year Policy If this policy is issued for a period of three
                                                          28              years any limit of the company’s liability stated in this policy as
                                                                                                            5                     Case No. 2:21-CV-00397-WBS-JDP
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                                                           1                 “aggregate” shall apply separately to each consecutive annual
                                                                             period thereof.
                                                           2                                             ***
                                                           3          11.     True and correct copies of the Royal Globe policy no. PYA920360, to named

                                                           4   insured Stockton Plating, Inc., for the policy period April 1, 1976 to April 1, 1979 and policy no.

                                                           5   PYA154515 for the policy period April 1, 1979 to April 1, 1982 are attached hereto as Exhibits A

                                                           6   and B, respectively.

                                                           7          12.     True and correct copies of the Royal policy no. PYA265377, to named insured

                                                           8   Stockton Plating Inc., for the policy period April 1, 1982 to April 1, 1985 and policy no.

                                                           9   PYA300207 for the policy period April 1, 1985 to April 1, 1986 are attached hereto as Exhibits C

                                                          10   and D, respectively.

                                                          11         B.      Underlying Action Against R And L, Clark, And Smith
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                                                          12          13.     The City of West Sacramento filed a complaint against multiple defendants on
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                                                          13   April 12, 2018, in the United States District Court for the Eastern District of California, Case No.

                                                          14   2:18-cv-00900-WBS-EFB (the “West Sacramento Action”). The City sought, inter alia, money

                                                          15   damages from the defendants for costs related to the testing and cleanup of environmental

                                                          16   contamination at and emanating from the Property, as well as nonmonetary and injunctive relief.

                                                          17          14.     The West Sacramento Action named R and L Business Management, John Clark,

                                                          18   and the Estate of Nick Smith as defendants.

                                                          19          15.     R and L Business Management, formerly known as Stockton Plating, Inc., is a

                                                          20   corporation organized under the laws of the state of California with its principal place of business

                                                          21   in Stockton, California and is the successor in interest to Stockton Plating, Inc.

                                                          22          16.     John Clark (“Clark”) is a citizen of California. He served as general manager of

                                                          23   Stockton Plating, Inc.’s facility in West Sacramento from 1973 through 1982 and operated the

                                                          24   metal plating business at the Property during that time.

                                                          25          17.     Nick Smith (“Smith”) is a deceased individual who formerly resided in California.

                                                          26   The Estate of Nick Smith was being sued pursuant to California Probate Code § 550, et seq.
                                                          27   Smith was a former owner and operator of Stockton Plating, Inc.’s facility in West Sacramento,

                                                          28
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                                                           1   and, through Stockton Plating, Inc., operated a metal plating business at the Property from 1973

                                                           2   through 1984.

                                                           3             C.    Arrowood’s Defense Of R And L, Clark, And Smith

                                                           4             18.   R and L Business Management, Clark, and Smith requested that Arrowood defend

                                                           5   and indemnify them in connection with the West Sacramento Action. Arrowood accepted the

                                                           6   tender of defense for R and L Business Management, Clark, and Smith under a reservation of

                                                           7   rights.

                                                           8             19.   Arrowood timely and fully defended R and L Business Management, Clark, and

                                                           9   Smith in connection with the West Sacramento Action.

                                                          10             D.    Entry Of Stipulated Judgment And Settlement Agreement

                                                          11             20.   On March 10, 2021, the Court in the West Sacramento Action entered a Stipulated
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                                                          12   Judgment (“Judgment”) in favor of the City of West Sacramento and against defendants R and L
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                                                          13   Business Management, Clark, and Smith. The Judgment is attached hereto as Exhibit E and

                                                          14   incorporated herein. The Court entered Judgment as follows:

                                                          15                          THEREFORE, Judgment is entered: (1) in favor of the City

                                                          16                   on its CERCLA, Porter-Cologne Act, public nuisance, and HSAA

                                                          17                   claims, and a declaration that the City is entitled to recover from

                                                          18                   Defendants any reasonable future response costs for the Site it

                                                          19                   incurs with the oversight and approval of DTSC consistent with the

                                                          20                   National Contingency Plan; (2) in favor of the City on its RCRA

                                                          21                   and Gatto Act claims against R&L and Estate of Smith; and (3) in

                                                          22                   favor of the City and the People of the State of California of the

                                                          23                   City of West Sacramento on the public nuisance claim against

                                                          24                   R&L, Clark, and Estate of Smith. The State of California is not a

                                                          25                   party to this action or to this Stipulated Judgment.

                                                          26                          Defendants are ordered to reimburse the City for its past
                                                          27                   response costs in the sum of $125,627.90, and to reimburse the

                                                          28                   City for its reasonable attorneys’ fees, expert witness fees, and
                                                                                                                   7                  Case No. 2:21-CV-00397-WBS-JDP
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                                                           1                   other costs of suit incurred in litigating this action in the sum of

                                                           2                   $1,409,500. The remaining amount of the judgment against

                                                           3                   Defendants reflecting the estimated cost to remediate and obtain

                                                           4                   regulatory closure of the Site shall not be stated in a sum certain, in

                                                           5                   part because the cost of the remediation and regulatory closure of

                                                           6                   the Site is not known.

                                                           7                           Defendants shall conduct a Site investigation to the

                                                           8                   satisfaction of DTSC.

                                                           9                           Defendants shall perform those tasks listed within DTSC’s

                                                          10                   I&S/E Order, Docket No. HSA-FY 19/20-129, dated May 6, 2020,

                                                          11                   as it may be amended by DTSC, to the extent DTSC determines
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                                                          12                   that those tasks are needed, with the oversight and approval of
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                                                          13                   DTSC.

                                                          14          21.       The City of West Sacramento, R and L Business Management, Clark, Smith, and

                                                          15   Arrowood entered into a Settlement Agreement and Covenant Not to Execute (“Settlement

                                                          16   Agreement and Covenant Not to Execute”) on March 3, 2021. The Agreement is attached hereto

                                                          17   as Exhibit F.

                                                          18          22.       The City of West Sacramento agreed pursuant to the Settlement Agreement and

                                                          19   Covenant Not to Execute not to seek to enforce the Judgment against R and L Business

                                                          20   Management, Clark, or Smith or add them to any action to enforce the judgment:

                                                          21                   The City and the People shall not in any Insurance Code § 11580

                                                          22                   action add as a party R&L, Clark, Estate of Smith, Sharon Leland

                                                          23                   (deceased) and/or her estate or residue, Richard L. Leland, or other

                                                          24                   operator of the prior plating operations at the Site.

                                                          25          23.       The City of West Sacramento agreed pursuant to the Settlement Agreement and

                                                          26   Covenant Not to Execute to seek to enforce the Judgment solely against Arrowood or other
                                                          27   insurers and not against R and L Business Management, Clark, and Smith as follows:

                                                          28
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                                                           1                The City and the People may only execute or enforce the

                                                           2                Stipulated Judgment against any available insurance assets of R&L

                                                           3                (including the insurance of any of its past or present owners,

                                                           4                operators, officers, directors, employees, and/or shareholders), any

                                                           5                available insurance assets of Clark, or any available insurance

                                                           6                assets of the Estate of Smith, including, but not limited to, the

                                                           7                Arrowood Policies. The City and the People may not execute the

                                                           8                Stipulated Judgment against Sharon Leland (now deceased), her

                                                           9                estate and/or any residue, if any, or her husband Richard L. Leland,

                                                          10                both of whom were previously dismissed from the Action.

                                                          11          24.    The City of West Sacramento pursuant to the Agreement released R and L
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                      San Francisco, California 94111




                                                          12   Business Management, Clark, and Smith from all claims arising out of or related to the West
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                                                          13   Sacramento Action as follows:

                                                          14                In exchange for the consideration called for in this Agreement and

                                                          15                the Stipulated Judgment, the City, on behalf of itself and its elected

                                                          16                and appointed officials, employees, agents, attorneys, partners,

                                                          17                representatives, predecessors, subsidiaries, successors,

                                                          18                administrators, and assigns, does hereby forever release and

                                                          19                discharge R&L, the Estate of Smith, Clark, Arrowood and their

                                                          20                respective owners, employees, agents, attorneys, insurers,

                                                          21                reinsurers, retrocessionaires, partners, representatives,

                                                          22                predecessors, parents, subsidiaries, affiliates, successors,

                                                          23                administrators, assigns, heirs, officers, directors, and shareholders,

                                                          24                from any and all past, present, or future claims, demands,

                                                          25                obligations, actions, causes of action, rights, damages, costs, losses

                                                          26                of services, expenses and compensation of any nature whatsoever,
                                                          27                whether based on tort, contract, equitable, statutory or other theory

                                                          28                of recovery, and whether for compensatory damages, punitive
                                                                                                            9                 Case No. 2:21-CV-00397-WBS-JDP
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                                                           1                damages, or any other relief, which it now has or which may

                                                           2                hereafter accrue or otherwise be acquired, on account of, or in any

                                                           3                way arising out of the Site or the Action, except as expressly

                                                           4                provided in this Agreement. For the avoidance of doubt, the Parties

                                                           5                agree that the foregoing releases by the City do not include

                                                           6                enforcement of the Stipulated Judgment against R&L’s insurance

                                                           7                companies, the Estate of Smith’s insurance companies, and Clark’s

                                                           8                insurance companies, including Arrowood, to the extent the City

                                                           9                prevails and obtains a final, non-appealable judgment in a

                                                          10                California Insurance Code § 11580 action.

                                                          11          25.    R and L Business Management, Clark, and Smith pursuant to the Agreement
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                                                          12   released Arrowood from all claims arising out of or related to the West Sacramento Action as
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                                                          13   follows:

                                                          14                In exchange for the consideration called for in this Agreement and

                                                          15                the Stipulated Judgment, R&L, the Estate of Smith, and Clark, on

                                                          16                behalf of themselves and their affiliates (including but not limited

                                                          17                to Stockton Plating, Inc.), owners, employees, members, managers,

                                                          18                agents, attorneys, partners, representatives, predecessors, parents,

                                                          19                subsidiaries, affiliates, successors, administrators, assigns, heirs,

                                                          20                officers, directors, and shareholders, do hereby forever release and

                                                          21                discharge Arrowood and its respective owners, employees, agents,

                                                          22                attorneys, insurers, reinsurers, retrocessionaires, partners,

                                                          23                representatives, predecessors, parents, subsidiaries, affiliates,

                                                          24                successors, administrators, assigns, officers, directors, and

                                                          25                shareholders, from any and all past, present, or future claims,

                                                          26                demands, obligations, actions, causes of action, rights, damages,
                                                          27                costs, losses of services, expenses and compensation of any nature

                                                          28                whatsoever, whether based on tort, contract, equitable, statutory or
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                                                           1                 other theory of recovery, and whether for compensatory damages,

                                                           2                 punitive damages, or any other relief, which R&L, the Estate of

                                                           3                 Smith, or Clark now have or which may hereafter accrue or

                                                           4                 otherwise be acquired, on account of, or in any way arising out of

                                                           5                 the Site or the Action.

                                                           6          26.    Arrowood, as the insurer of R and L Business Management, Clark, and Smith,

                                                           7   owes no obligation pursuant to the Agreement, inter alia, to remediate the Site or to pay any sum

                                                           8   of money to the City of West Sacramento arising from the Judgment unless the City of West

                                                           9   Sacramento prevails and obtains a final, non-appealable judgment against Arrowood in a

                                                          10   subsequent coverage action that the Arrowood Policies provide coverage for the Judgment. The

                                                          11   City and Arrowood agreed as follows:
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                                                          12                 Notwithstanding any statements in this Agreement that certain
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                                                          13                 actions shall be taken or certain payments be made “by and

                                                          14                 through Arrowood,” Arrowood shall have no obligation:

                                                          15                      •   to satisfy, to comply with, or to cause anyone to satisfy or
                                                          16                          comply with the Remediation obligations contained in

                                                          17                          this Agreement (as described in paragraph 4 above); or

                                                          18                      •   to satisfy, to comply with, or to cause anyone to satisfy or
                                                          19                          comply with future response costs incurred by the City or

                                                          20                          the People on or after February 1, 2021; or

                                                          21                      •   to pay the City’s or the People’s prevailing-party
                                                          22                          attorneys’ fees or other costs of litigation in the amount

                                                          23                          of $1,409,500 as provided in the Stipulated Judgment (as

                                                          24                          described in paragraph 5 above) subject to the additional

                                                          25                          conditions and limitations contained in paragraph 11

                                                          26                          below; or
                                                          27

                                                          28
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                                                           1                       •   satisfy, comply with, cause anyone to satisfy or comply
                                                           2                           with, or pay any other damage, cost, expense, otherwise

                                                           3                           in the Stipulated Judgment;

                                                           4                 unless and until such time, if any, that the City or the People, as a

                                                           5                 judgment creditor under the Stipulated Judgment, prevails and

                                                           6                 obtains a final, non-appealable judgment in a California Insurance

                                                           7                 Code § 11580 action against Arrowood on the corresponding issue

                                                           8                 listed above.

                                                           9          E.     Industrial Operations At The Property Prior To Stockton Plating, Inc.

                                                          10          27.     Beginning in the 1940s, an automobile repair facility operated at the Property. In

                                                          11   1949, the Property was converted for use as a metal plating business.
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                                                          12          28.     A general partnership, under the name of Capitol Plating, performed metal plating
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                                                          13   operations at the Property from 1949 to 1960.

                                                          14          29.     In or about January 28, 1960, Capitol Plating, Inc. was incorporated and

                                                          15   performed metal plating operations at the Property from 1960 until 1973.

                                                          16          30.     The plating processes in place between 1960 and 1973 at the Property consisted of

                                                          17   placing metal bumpers in large tanks that each contained dissolved nickel, copper, chrome, and

                                                          18   rinse water. Employees at the Property during this time placed and then removed bumpers from

                                                          19   the tanks. Fluids were “dragged out” from the tanks and fell onto the floor. The process also

                                                          20   involved straightening, grinding, and polishing bumpers in a separate room. The straightening,

                                                          21   grinding, and polishing process released metal shavings onto the floor and dispersed dust into the

                                                          22   air.

                                                          23          31.     From at least 1964 until Capitol Plating, Inc. ceased operations at the Property,

                                                          24   plating rinse fluids were allowed to flow directly onto the floor and into the floor drain. At times,

                                                          25   plating fluids and rinse water exited the building through a man-made hole in the foundation.

                                                          26   The hole in the foundation was intended to accommodate and allow the release of fluids from the
                                                          27   building.

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                                                           1          F.     R And L’s Operations At The Property Beginning In 1973

                                                           2          32.     Stockton Plating, Inc. purchased the assets but not liabilities of Capitol Plating,

                                                           3   Inc. in 1973 pursuant to a written contract and operated a metal chrome plating facility at the

                                                           4   Property between 1973 and 1985.

                                                           5          33.     At all times material to Stockton Plating, Inc.’s operations at the Property, its

                                                           6   employees utilized a chrome plating process that regularly, routinely, foreseeably, intentionally,

                                                           7   and gradually released metals into or onto the Property as part of the ordinary plating operations.

                                                           8   Stockton Plating, Inc.’s operations at the Property released metals into or onto the Property as

                                                           9   part of the ordinary plating operations through a series of intended and foreseeable processes.

                                                          10          34.     Stockton Plating employees straightened, grinded, and polished bumpers in a

                                                          11   physical, partition-separated area, separate from the plating operations. Shavings from bumpers
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                                                          12   fell onto the floor and were dispersed into the air. The grinding and polishing room contained a
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                                                          13   collector powered by a large fan that gathered dust into a bag. A janitor swept the grinding and

                                                          14   polishing rooms at the end of each day, emptied the dust collector bag, and placed dust and

                                                          15   shavings into a dumpster outside of the building.

                                                          16          35.     As part of the metal plating process, employees referred to as “platers” placed

                                                          17   bumpers into a series of tanks filled with dissolved nickel, copper, and chrome solutions. When

                                                          18   bumpers were removed from the plating solutions, platers “dragged out” fluids from the tanks and

                                                          19   droplets of plating solution fell onto the floor. Platers also placed bumpers into tanks containing

                                                          20   rise and, using the same process for the plating tanks, dragged out rinse fluids that also fell onto

                                                          21   the floor. Employees also occasionally dropped bumpers as they were removed from plating

                                                          22   solutions and rinse water causing fluids to splash onto the ground.

                                                          23          36.     From 1973 until 1974, Stockton Plating, Inc. continued to allow plating rinse

                                                          24   fluids to flow directly onto the floor in the plating area. Employees placed dirt and gravel on the

                                                          25   exterior of the building to prevent fluids from exiting the building through the man-made hole.

                                                          26   Fluids eroded the nonpermanent, permeable dirt and gravel wall several times causing employees
                                                          27   to rebuild the wall with additional dirt and gravel. The dirt and gravel wall did not completely

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                                                           1   prevent the release of plating rinse fluids from the building into or onto the Property in this time

                                                           2   period.

                                                           3             37.   In 1974, Stockton Plating, Inc. altered its plating operations at the Property to limit

                                                           4   the expected and intended release of fluids from the building that were part of its regular business

                                                           5   practice spanning several years. Employees constructed a concrete block wall around the metal

                                                           6   plating tanks at the Property to direct any fluids into a floor drain. Employees also implemented

                                                           7   a water conservation system that significantly reduced the flow of fluids onto the floor that

                                                           8   needed to be directed into the floor drain. These changes decreased the amount of fluids on the

                                                           9   ground in the plating area and made the release of fluid from the building into or onto the

                                                          10   Property less common.

                                                          11             38.   Stockton Plating, Inc. continued to discharge fluids from its plating operations into
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                                                          12   or onto the Property as part of its regular business practices even after changes to its plating
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                                                          13   processes were implemented in 1974. Fluids continued to be dragged out from plating and rinse

                                                          14   tanks during Stockton Plating, Inc.’s operations. Fluids dragged out from the plating and rinse

                                                          15   tanks were an expected and intended part of Stockton Plating, Inc.’s business practice. The

                                                          16   discharge of fluids dragged out from tanks occurred gradually and were virtually certain to occur

                                                          17   from the nature of the plating operations.

                                                          18             39.   From 1973 to 1985, Stockton Plating, Inc.’s release of metals from the building

                                                          19   into or onto the Property were part of its regular business practice of repeatedly discharging

                                                          20   metals or liquids containing metals in the same manner on a daily basis over several years.

                                                          21             40.   Stockton Plating, Inc. ceased metal plating operations at the Property in 1985 but

                                                          22   used the Property for storage until 1991.

                                                          23             G.    Fires At The Property In 1973 And 1985

                                                          24             41.   The Property experienced fires in 1973 and 1985 in the grinding and polishing

                                                          25   rooms. The 1973 and 1985 fires caused no damage to the plating area and occurred at night after

                                                          26   business hours when no work was being performed.
                                                          27             42.   The 1973 and 1985 fires did not result in the release or dispersal of fluids from the

                                                          28   plating tanks because, at the end of each workday, employees covered the plating tanks.
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                                                           1          43.     There was no sudden or accidental release of metal plating fluids as a result of the

                                                           2   1973 or 1985 fires because the fires did not damage the plating area and the plating tanks were

                                                           3   covered preventing the release of fluids.

                                                           4          44.     The 1973 and 1985 fires also did not cause the release of a material amount of dust

                                                           5   or metal shavings from the grinding and polishing rooms. The fires occurred after hours when

                                                           6   no employees were present. A janitor arrived to clean the Property at the end of each workday.

                                                           7   He swept the grinding and polishing rooms, emptied the dust collector bag, and removed dust and

                                                           8   metal shavings from the grinding and polishing rooms.

                                                           9          45.     There was no sudden or accidental release of dust or metal shavings from the 1973

                                                          10   or 1985 fires because, at most, a trivial amount of dust and metal shavings remained in the

                                                          11   grinding and polishing rooms when the fires occurred. The trivial amount of dust and metal
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                                                          12   shavings that may have remained in the grinding and polishing rooms were not a substantial
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                                                          13   factor in causing damage to the Property.

                                                          14          H.     Contamination Of The Property From Industrial Operations

                                                          15          46.     The industrial plating operations of Stockton Plating, Inc. and the entities that

                                                          16   operated at the Property prior to 1973 gradually and foreseeably released several thousand pounds

                                                          17   of metals into or onto the Property as part of their ordinary operations.

                                                          18          47.      The 1973 and 1985 fires did not release more than a trivial amount of dust and

                                                          19   metal shavings into or onto the Property, if any release occurred at all. Dust and metal shavings

                                                          20   released from the 1973 and 1985 fires, if any, were not a substantial factor of the environmental

                                                          21   contamination subject to the Third Amended Complaint for which the City of West Sacramento

                                                          22   and the People of the State of California seek damages.

                                                          23                                    FIRST CLAIM FOR RELIEF

                                                          24                  (Declaratory Judgment: No Duty To Indemnify By Arrowood)

                                                          25          48.     Arrowood realleges and incorporates by reference each and every allegation set

                                                          26   forth in the preceding paragraphs.
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                                                           1          49.      An actual controversy has arisen and now exists between Arrowood, on the one

                                                           2   hand, and the City of West Sacramento, on the other hand, concerning Arrowood’s duties under

                                                           3   the Policies.

                                                           4          50.      Arrowood contends it has no duty to satisfy the Judgment entered against R and L

                                                           5   Business Management, Clark, and Smith in favor of the City of West Sacramento, on the grounds

                                                           6   that the Policies do not provide coverage for the claims alleged against R and L Business

                                                           7   Management, Clark, and Smith.

                                                           8          51.      The City of West Sacramento contends that Arrowood is obligated to satisfy the

                                                           9   Judgment entered in the West Sacramento Action up to the policy limits of the Policies.

                                                          10          52.      Arrowood desires a judicial determination pursuant to 28 U.S.C. § 2201 of its

                                                          11   rights and duties under the Policies, if any, with respect to the aforementioned claims.
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                                                          12          53.      A judicial determination is necessary and appropriate at this time under the
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                                                          13   circumstances in order that the parties may ascertain their rights and duties as aforementioned.

                                                          14   Said controversy is incapable of resolution without judicial adjudication. Accordingly, Arrowood

                                                          15   has no plain, speedy, and adequate remedy at law, and requests a declaratory judgment, adjudging

                                                          16   and declaring that Arrowood has no duty to satisfy the Judgment entered against R and L

                                                          17   Business Management, Clark, and Smith in the West Sacramento Action.

                                                          18                                   SECOND CLAIM FOR RELIEF

                                                          19                          (Declaratory Judgment: Arrowood Policy Limits)

                                                          20          54.      Arrowood realleges and incorporates by reference each and every allegation set

                                                          21   forth in the preceding paragraphs.

                                                          22          55.      An actual controversy has arisen and now exists between Arrowood, on the one

                                                          23   hand, and the City of West Sacramento, on the other hand, concerning Arrowood’s duties under

                                                          24   the Policies.

                                                          25          56.      Arrowood contends, even if the Court finds that it has a duty to satisfy the

                                                          26   Judgment entered against R and L Business Management, Clark, and Smith in favor of West
                                                          27   Sacramento, that the applicable limits of the Policies for environmental pollution at the Property

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                                                           1   are $500,000 because the City of West Sacramento Action alleged one occurrence and because

                                                           2   the per-occurrence limits are not annualized under Policies.

                                                           3          57.     The City of West Sacramento contends that the applicable limits of the Policies

                                                           4   are $5,000,000.

                                                           5          58.     Arrowood desires a judicial determination pursuant to 28 U.S.C. § 2201 of its

                                                           6   rights and duties under the Policies, if any, with respect to the aforementioned claims.

                                                           7          59.     A judicial determination is necessary and appropriate at this time under the

                                                           8   circumstances in order that the parties may ascertain their rights and duties as aforementioned.

                                                           9   Said controversy is incapable of resolution without judicial adjudication. Accordingly, Arrowood

                                                          10   has no plain, speedy, and adequate remedy at law, and requests a declaratory judgment, adjudging

                                                          11   and declaring that Arrowood has no duty to satisfy any judgment rendered against R and L
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                                                          12   Business Management, Clark, and Smith in the West Sacramento Action.
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                                                          13                                                   PRAYER

                                                          14          WHEREFORE, plaintiff Arrowood prays for judgment as follows:

                                                          15          (1) Arrowood requests a judicial declaration pursuant to 28 U.S.C. § 2201 that it has no

                                                          16 duty to satisfy the Judgment entered against R and L Business Management, John Clark, and the

                                                          17 Estate of Nick Smith in the West Sacramento Action, on the grounds that the Policies do not

                                                          18 provide coverage for the Judgment against R and L Business Management, John Clark, and the

                                                          19 Estate of Nick Smith for these claims;

                                                          20          (2) If the Court determines that Arrowood has a duty to satisfy the Judgment entered

                                                          21 against R and L Business Management, John Clark, and the Estate of Nick Smith in the West

                                                          22 Sacramento Action, that the applicable limits of the Policies are $500,000 because the City of

                                                          23 West Sacramento alleged one occurrence and the occurrence limit is not annualized under the

                                                          24 Policies;

                                                          25          (3) For costs of suit incurred herein;

                                                          26          (4) For other such relief as the Court deems just and equitable.
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                                                           2
                                                                                                        By:          /s/ Alexander E. Potente
                                                           3
                                                                                                              Alexander E. Potente
                                                           4                                                  Timothy J. Witczak
                                                                                                              Attorneys for Plaintiff ARROWOOD
                                                           5                                                  INDEMNITY COMPANY,
                                                                                                              formerly known as ROYAL GLOBE
                                                           6
                                                                                                              INSURANCE COMPANY and ROYAL
                                                           7                                                  INSURANCE COMPANY OF AMERICA

                                                           8

                                                           9                                      JURY TRIAL DEMAND

                                                          10            Plaintiff Arrowood Indemnity Company hereby demands trial by jury on all matters so

                                                          11 triable.
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                                                          12 Dated: March 11, 2021                      CLYDE & CO US LLP
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                                                          13
                                                                                                        By: /s/ Alexander E. Potente
                                                          14
                                                                                                            Alexander E. Potente
                                                          15                                                Timothy J. Witczak
                                                                                                            Attorneys for Plaintiff ARROWOOD
                                                          16                                                INDEMNITY COMPANY,
                                                                                                            formerly known as ROYAL GLOBE
                                                          17                                                INSURANCE COMPANY and ROYAL
                                                          18                                                INSURANCE COMPANY OF AMERICA

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